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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 19, 2021, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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                                    CERTIFICATE OF SERVICE

          I further hereby certify that on March 25, 2021, I also served the following non-ECF
  participants, via mail and electronic mail, as follows:

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                                                   /s/ Michael L. Bloch
                                                   Michael L. Bloch (pro hac vice)
                                                   KAPLAN HECKER & FINK LLP

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